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7                              UNITED STATES DISTRICT COURT
8                            CENTRAL DISTRICT OF CALIFORNIA
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10     DOE JEWISH USC FACULTY                       Case No. 2:24-cv-05712 FLA (SSCx)
       MEMBER 2004, et al.,
11                                                  ORDER GRANTING PARTIES’
                                 Plaintiffs,
                                                    JOINT STIPULATION TO
12
                    v.                              CONTINUE (DKT. 14)
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14     UNIVERSITY OF SOUTHERN
       CALIFORNIA, et al.,
15
                                 Defendants.
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             On July 19, 2024, Plaintiffs “Doe Jewish USC Faculty Member 2004” and
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       “Doe Jewish Student 1987” and Defendant University of Southern California
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       (together, the “Parties”) filed a Joint Stipulation requesting the Court continue: (1) the
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       currently scheduled Motion to Dismiss hearing date of Friday, August 16, 2024 (see
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       Dkt. 10) to Friday, September 13, 2024; and (2) the Scheduling Conference currently
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       set for Friday, August 30, 2024 (see Dkt. 12) to Friday, November 1, 2024.
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             The court, having considered the Parties’ Joint Stipulation and finding good
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       cause therefor, hereby GRANTS the Joint Stipulation and ORDERS as follows:
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               1.   The hearing on the Motion to Dismiss (Dkt. 10) shall be CONTINUED
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                    to Friday, September 20, 2024, at 1:30 p.m.; and
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              2.   The Scheduling Conference (see Dkt. 12) shall be CONTINUED to
1                  Friday, November 1, 2024, at 1:00 p.m.
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3            IT IS SO ORDERED.
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5      Dated: July 25, 2024                        _______________________________
                                                   FERNANDO L. AENLLE-ROCHA
6                                                  United States District Judge
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